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            IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


FREDDIE WIGENTON,                   )
                                    )
      Petitioner,                   )
                                    )
            v.                      )       1:09cr414
                                    )       1:14cv60
UNITED STATES OF AMERICA,           )
                                    )
      Respondent.                   )


                  M E M O R A N D U M        O P I N I O N

            This matter is before the Court on Petitioner Freddie

Wigenton’s 1 (“Wigenton”) Motion to Vacate, Set Aside, or Correct

Sentence pursuant to 28 U.S.C. § 2255 (“Motion”).            [Dkt. 254.]

For the following reasons, the Court will deny Petitioner’s

Motion.

                              I.   Background

            Petitioner and co-defendants Deshawn Anderson

(“Anderson”) and Marvin Wayne Williams, Jr. (“Williams”) were

alleged to be drug dealers who shot Kyle Turner in the belief

that Turner stole money and narcotics from their stash house on

December 9, 2009.     On December 10, 2010, after five days of

trial and three days of deliberations, a jury convicted

Petitioner, Anderson and Williams of conspiracy to distribute

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  In his filings, Petitioner spelled his name “Wiggenton.” As the case
captions refer to “Wigenton,” that spelling will be used for consistency.

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more than 500 grams of cocaine, in violation of 21 U.S.C. §§

841(a)(1) and 846, and use of a firearm during a drug

trafficking offense resulting in the death of Kyle Turner, in

violation of 18 U.S.C. §§ 924(c)(1)(A) and 924(j).          The jury

acquitted Petitioner and both co-defendants of an intentional

killing while engaged in drug trafficking under 21 U.S.C. §

848(e)(1)(A) and 18 U.S.C. § 2.

           On March 11, 2011, Petitioner was sentenced to 25

years’ imprisonment as to Count I and 25 years imprisonment as

to Count III, to run consecutively.       [Dkt. 173.]     On March 14,

2011, Petitioner filed a notice of appeal with the United States

Court of Appeals for the Fourth Circuit.        [Dkt. 161.]    On March

23, 2011, Petitioner’s appeal was consolidated with those of

Anderson and Williams.     [Dkt. 182.]    On August 3, 2012, the

Fourth Circuit affirmed Petitioner’s conviction and sentence.

[Dkt. 221.]   On September 7, 2012, the Fourth Circuit denied

Petitioner’s petition for rehearing en banc.         [Dkt. 223.]    On

January 7, 2013 the Supreme Court denied Petitioner’s petition

for a writ of certiorari.      See United States v. Wigenton, 490 F.

App’x 557 (4th Cir. 2012), cert. denied, 133 S. Ct. 916, 184 L.

Ed. 2d 704 (2013).

           On October 30, 2013, Williams, on behalf of himself,

Anderson and Petitioner filed a Motion for Consolidation

requesting that their forthcoming § 2255 petitions be

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consolidated.    [Dkt. 248.]    On November 5, 2013, the Court

granted this motion.     [Dkt. 251.]    On January 22, 2014, Williams

filed a Motion to Vacate under § 2255 on behalf of himself and

his co-defendants.    [Dkts. 251-252.]     Williams’ motion was not

signed and on February 20, 2014, pursuant to a letter from the

Court, a signed copy was received.

           On January 29, 2014, Petitioner filed a separate

Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C. § 2255.    [Dkt. 254.]    On February 11, 2014, the Court

ordered the Government to file an answer to the petition.           [Dkt.

255.]   On April 7, 2014, the Government filed its reply to

Petitioner’s motion.     [Dkt. 260.]

                               II. Analysis

           The Antiterrorism and Effective Death Penalty of 1996

(“AEDPA”) provides that a federal district court must dismiss

any § 2255 motion that is filed more than one year after the

date on which: (1) the judgment of conviction becomes final; (2)

the impediment to making a motion, created by unlawful

governmental action, is removed and the petitioner was prevented

from making a motion by such action; (3) the United States

Supreme Court initially recognized the constitutional right

asserted, if the right has been newly recognized by the Supreme

Court and made retroactively applicable to cases on collateral

review; or (4) the facts supporting the claims presented could


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have been discovered with due diligence.        28 U.S.C. § 2255(f).

A petitioner must demonstrate that the petition was timely filed

under § 2255 or that his untimely petition may be salvaged by

equitable tolling principles.      See Hill v. Braxton, 277 F.3d

701, 707 (4th Cir. 2002) (requiring district courts to furnish

habeas petitioners an opportunity to provide facts contesting

the application of the statute of limitations); United States v.

Sexton, 56 Fed. App’x 202, 203 (4th Cir. 2003) (applying Hill to

a § 2255 Motion).

           Where a conviction is affirmed on appeal and

certiorari is denied, the conviction becomes final on the date

certiorari is denied.     See Beard v. Banks, 542 U.S. 406, 413

(2004).    Here, the Supreme Court denied certiorari on January 7,

2013.   See Wigenton v. United States, 133 S. Ct. 916 (2013).

The statute of limitations, therefore, expired on January 7,

2014.   Petitioner filed this motion on January 29, 2014,

approximately three weeks after the statute of limitations

expired.   [Dkt. 254.]

           This Court issued a show cause order, directing

Petitioner to demonstrate, if possible, that the one-year

statute of limitations does not apply or that he is entitled to

equitable tolling.    (11/20/14 Order [Dkt. 271].)        He was given

thirty days to file such a response, but did not file anything.

Furthermore, Petitioner’s motion fails to demonstrate any basis

for equitable tolling.     A petitioner seeking equitable tolling


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must show (1) that he diligently pursued his rights and (2) that

some extraordinary circumstance stood in the way of his timely

filing.   Holland v. Florida, 560 U.S. 631, 663 (2010).          “The

diligence required for equitable tolling purposes is ‘reasonable

diligence, not ‘maximum feasible diligence.’”         Id. at 653

(citation omitted).     Though Petitioner states that “he has not

been able to access his criminal files or trial transcripts to

properly litigate post-conviction remedy [sic],” this is not

sufficient to meet the high bar required to show equitable

tolling is warranted.     Equitable tolling is therefore

inappropriate.    As such, the Petition is time barred and must be

denied.

                            III. Conclusion

           For the foregoing reasons, the Court will deny

Petitioner’s Motion.     An appropriate Order will issue.




                                            /s/
December 30, 2014                        James C. Cacheris
Alexandria, Virginia           UNITED STATES DISTRICT COURT JUDGE




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